Case 2:12-md-02327 Document 4826-1 Filed 10/20/17 Page 1 of 2 PageID #: 155526




                 EXHIBIT A
   Case 2:12-md-02327 Document 4826-1 Filed 10/20/17 Page 2 of 2 PageID #: 155527
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           Case Name         Case Number
Bradley, Beth Ann        2:13cv02058
Bristol, Patricia        2:12cv08522
Brock, Elizabeth         2:12cv09856
Davis, Julie Ann         2:13cv01246
Davis, Sylvia            2:13cv00574
Jenkins, Bernice         2:13cv00706
Leinemann, Eileen        2:13cv02054
Maxwell, Jerene          2:13cv01703
Searcy, Patricia         2:12cv08953
Skebey, Marilyn          2:13cv02129
Smith, Patricia Moore    2:12cv09857
Stone, Kimberly          2:12cv09095
Terry, Patricia          2:12cv08140
Volpe, Patricia          2:13cv02051
